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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

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JENNIFER YANG,

 

Plaintiff, STIPULATION OF DISMISSAL
WITH PREJUDICE
ve

THE NAVIGATORS GROUP, INC.;

Defendant.

IT IS HEREBY STIPULATED AND AGREED, by and between the attorneys for the
respective parties herein, that the above-captioned action be dismissed with prejudice in
accordance with Rule 41{a)(1) of the Federal Rules of Civil Procedure and with each party to

bear its own costs, expenses, disbursements and altorneys’ fees,

 

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Dated: June EA 2017 Dated: June yg" , 2017
New York, New York New York, New York

KAISER msn LITTLER MENDELSON, PC

By: Mienaat (Weve

 

 

 

 
 
  

 

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SO ORDERED, a
Nelson X Roman, U.S.D.J.
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